   Case: 1:17-md-02804-DAP Doc #: 740 Filed: 07/13/18 1 of 1. PageID #: 17591



                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


  IN RE NATIONAL PRESCRIPTION                    MDL No. 2804
  OPIATE LITIGATION
                                                 Case No. 17-MD-2804

  This document relates to:                      Judge Dan Aaron Polster

  Commonwealth of Kentucky v. McKesson
  Corporation
  Case No. 1:18-op-45682




                                   ORDER

       Upon consideration of Defendant McKesson Corporation’s Notice of Consent to Remand,

it is hereby ORDERED that the action entitled Commonwealth of Kentucky, ex rel. Andy Beshear

Attorney General v. McKesson Corporation, Case No. 1:18-op-45682 (E.D. Ky.) is

REMANDED to the Commonwealth of Kentucky, Franklin Circuit Court.

       IT IS SO ORDERED.



          7/13/18
DATED: ________________________               /s/Dan Aaron Polster
                                             _____________________________
                                             HON. DAN AARON POLSTER
                                             UNITED STATES DISTRICT JUDGE
